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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


IN RE: INTERESTED PERSONS AND
CORPORATE DISCLOSURE
STATEMENT IN CRIMINAL CASES,
                                                           Case No. 8:22-mc-10-KKM
_____________________________________


                                   STANDING ORDER

       No later than 30 days from the date this order is entered in a criminal case, the

United States is directed to file a notice of all corporate victims or other corporate interested

parties, including legal entities that hold any interest in a corporate victim’s or interested

party’s shares or stock.

       If there are no corporate victims or other corporate interested parties, the United

States is directed to file a notice stating that there are none.

       ORDERED in Tampa, Florida, on January 13, 2023.
